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Matthew E. Price -- Bar, Courts and Dates of Admission Information



          COURTS                                   COURT ADMISSION DATE
    U.S. Supreme Court                                  March 23, 2015
  U.S. District Court for the                           February 7, 2011
      District of Columbia
  U.S. District Court for the                           March 18, 2014
   District of Massachusetts
  U.S. Court of Appeals for                              June 30, 2010
       the Federal Circuit
   U.S. Court of Appeals –      Bar #1164160             May 29, 2014
          First Circuit
   U.S. Court of Appeals –                              February 9, 2012
         Second Circuit
    U.S. Court of Appeals                              September 1, 2021
          Third Circuit
   U.S. Court of Appeals –                              October 20, 2011
         Fourth Circuit
   U.S. Court of Appeals –                              March 25, 2015
          Fifth Circuit
   U.S. Court of Appeals –                              March 24, 2022
          Sixth Circuit
   U.S. Court of Appeals –                              January 3, 2011
         Seventh Circuit
   U.S. Court of Appeals –                               August 2, 2013
          Ninth Circuit
   U.S. Court of Appeals –                            September 26, 2011
         Tenth Circuit

   U.S. Court of Appeals –                             November 9, 2012
        Eleventh Circuit

  U.S. Court of Appeals for      Bar #51722             March 14, 2008
    the District of Columbia
             Circuit
